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UNITED STATES
UNITED        DISTRICT COURT
       STATES DISTRICT COURT
NORTHERN DISTRICT
NORTHERN  DISTRICT OF
                   OF FLORIDA
                      FLORIDA
TALLAHASSEE  DIVISION
TALLAHASSEE DIVISION
-----------------------------------------------------------------------
ANDREW H.
ANDREW H. WARREN,
          WARREN,                                                         :
                                                                          :
                               Plaintiff,
                               Plaintiff,                                 :
                                                                          :       CASE NO.
                                                                                  CASE NO. 4:22cv302-RH-
                                                                                           4:22cv302-RH-
       v.
       v.                                                                 :                         MAF
                                                                                                    MAF
                                                                          :
RON DESANTIS,
RON DESANTIS,                                                             :
                                                                          :
                               Defendant.
                               Defendant.                                 :
                                                                          :
                                                                          :
                                                                          :
                                                                          :
                                                                          :
                                                                          :
                                                                              :

                                  NOTICE OF
                                  NOTICE OF APPEARANCE
                                            APPEARANCE


                 PLEASE
                 PLEASE TAKE NOTICE that
                        TAKE NOTICE that Samantha B. Singh,
                                         Samantha B.        of Debevoise
                                                     Singh, of Debevoise &
                                                                         &

Plimpton LLP
Plimpton LLP hereby
             hereby appears
                    appears as
                            as counsel
                               counsel on
                                       on behalf
                                          behalf of
                                                 of plaintiff
                                                    plaintiff Andrew
                                                              Andrew H.
                                                                     H. Warren
                                                                        Warren in the
                                                                               in the

above captioned
above captioned case.
                case.

Dated: New
Dated: New York,
           York, New
                  New York
                       York
       October 14,
       October 14, 2022
                   2022

                                             DEBEVOISE &
                                             DEBEVOISE & PLIMPTON
                                                         PLIMPTON LLP
                                                                  LLP

                                             By:
                                             By:      /s/Samantha B.
                                                      Is/Samantha  B. Singh
                                                                      Singh_________
                                                      Samantha
                                                      Samantha B.B. Singh
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                                                                               Andrew Warren
                                                                                      Warren
